      Case 2:14-cr-00153-SM-KWR          Document 194   Filed 11/03/16    Page 1 of 4




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                       CRIMINAL ACTION

 VERSUS                                                         NO. 14-153

 AKARI WILLIAMS, ET AL.                                         SECTION: “E” (4)


                                  ORDER AND REASONS
          Before the Court is the Government’s motion in limine to preclude the defense

from attacking the credibility of Government witnesses on the basis of alleged misconduct

by non-testifying officers. 1 Specifically, the Government argues the Defendants should be

precluded from introducing evidence regarding former Narcotics Unit Supervisor for the

Terrebonne Parish Sheriff’s Office, Darryl B. Stewart. 2 Although Stewart recently pleaded

guilty to theft of federal funds, the Government argues he will not be called as a witness

and therefore testimony and argument relating to his recent guilty plea are irrelevant to

the charges in this case. Defendant Thompson opposes the Government’s motion. 3

Specifically, Defendant Thompson states he plans to call Stewart as a witness as Stewart

is a relevant fact witness in this case. 4

          As the Government correctly identifies, “Evidence and argument concerning

misconduct by non-testifying officers has been prohibited previously in the Eastern

District of Louisiana.” 5 The Government explains that in United States v. Harris, the

court “ruled that ‘[g]eneral police misconduct,’ even if relevant under Rule 402, was not

appropriate for presentation to the jury while ‘evidence of misconduct of the officers who


1 R. Doc. 167.
2 R. Doc. 167-1, at 1.
3 R. Doc. 176.
4 Id. at 1.
5 R. Doc. 167-1.
        Case 2:14-cr-00153-SM-KWR              Document 194         Filed 11/03/16        Page 2 of 4




testify would be relevant.’” 6 The Harris court found admission of evidence and testimony

regarding general NOPD misconduct “would create the danger that the jury would

conclude that NOPD witnesses are not telling the truth due to widespread misconduct

throughout the police department.” 7 The Harris court then explained:

          On the other hand, evidence of misconduct of the officers who testify would
          be relevant because it would be probative as to their truthfulness vel non . .
          . Additionally, such evidence would survive Rule 403 because evidence of a
          particular officer’s prior misconduct is properly considered in determining
          how the officer acted regarding the case in which he testifies. 8
          Federal Rule of Evidence 609(a)(1) allows “impeachment of a witness other than

the accused by evidence of conviction of a crime that was punishable by death or

imprisonment in excess of one year and the court determines that the probative value of

admitting the evidence outweighs its prejudicial effect.” 9 Defendant Thompson has stated

he intends to call Mr. Stewart. 10 On September 7, 2016, Mr. Stewart was sentenced to one

year of probation as a result of his pleading guilty to the theft of government funds, in

violation of Title 18, United States Code, Section 641. 11 Under this statute, Mr. Stewart

faced a maximum possible of ten years imprisonment. 12 Rule 609(a)(1) clearly states a

witness may be impeached by a criminal conviction “for a crime that, in the convicting

jurisdiction, was punishable by death or imprisonment for more than one year.” 13 With

respect to Federal Rule of Evidence 609, the actual sentence Mr. Stewart received is

irrelevant 14


6 Id. (quoting United States v. Harris, No. 10-285, 2011 WL 6130747, at *2 (E.D. La. Dec. 8, 2011)).
7 Harris, 2011 WL 6130747, at *2.
8 Id.
9 United States v. Charles, 366 F. App’x 532, 541 (5th Cir. 2010) (citing FED. R. EVID. 609(a)(1)).
10 R. Doc. 176, at 1.
11 See R. Doc. 176-3.
12 18 U.S.C. § 641.
13 FED. R. EVID. 609(a)(1) (emphasis added).
14 See, e.g., Smith v. Tidewater Marine Towing, Inc., 927 F.2d 838, 840 (5th Cir. 1991) (stating “Rule

609(a)(1) clearly applies to [the witness’s] conviction” because although the witness was sentenced to
    Case 2:14-cr-00153-SM-KWR               Document 194          Filed 11/03/16       Page 3 of 4




        While Mr. Stewart’s conviction clearly satisfies Federal Rule of Evidence 609(a)(1),

evidence of his conviction is still subject to a Rule 403 analysis. 15 Rule 403 of the Federal

Rules of Evidence provides, “The court may exclude relevant evidence if its probative

value is substantially outweighed by a danger of one or more of the following: unfair

prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or

needless presenting cumulative evidence.” 16 The Fifth Circuit has cautioned “because it

permits a trial court to exclude concededly probative evidence, Rule 403 is an

extraordinary remedy which should be used sparingly.” 17 As the Fifth Circuit noted in

United States v. McRae:

        Relevant evidence is inherently prejudicial; but it is only unfair prejudice
        substantially outweighing probative value, which permits exclusion of
        relevant matter under Rule 403. Unless trials are to be conducted on
        scenarios, on unreal facts tailored and sanitized for the occasion, the
        application of Rule 403 is meant to relax the iron rule of relevance, to
        permit the trial judge to preserve the fairness of the proceedings by
        exclusion despite its relevance. 18

Although the rule is to be used sparingly, “A district court has broad discretion in

assessing admissibility under Rule 403.” 19

        In his opposition, Defendant Thompson states he plans to call Mr. Stewart to

testify as a fact witness. 20 Defendant Thompson argues Mr. Stewart is a relevant fact

witness in this case for the following reasons: (1) he was the Narcotics Unit Supervisor of

the Terrebonne Sherriff’s Office who led the investigation; (2) he was the direct supervisor




supervised probation for four years, the statute he was found guilty under was punishable by
imprisonment for up to 3 ½ years.).
15 See FED. R. EVID. 609(a)(1)(A).
16 FED. R. EVID. 403.
17 United States v. Thevis, 665 F.2d 616, 633 (5th Cir. 1982).
18 United States v. McRae, 593 F.2d 700, 707 (5th Cir. 1979).
19 United States v. Morris, 79 F.3d 409, 412 (5th Cir. 1996).
20 R. Doc. 176.
     Case 2:14-cr-00153-SM-KWR                Document 194           Filed 11/03/16       Page 4 of 4




of Russell Hornsby, Jr., the Government’s case agent; (3) he has direct personal

knowledge of the many details of the investigation; and (4) he was directly involved in the

chain of custody of the drugs. 21 If Mr. Stewart is called to testify, evidence of his

misconduct will be relevant because it is probative as to his truthfulness vel non. 22 As the

court decided in Harris, this Court finds such evidence survives Rule 403 because

evidence of a particular officer’s prior misconduct is properly considered in determining

how the officer acted regarding the case in which he testifies. 23

         For the foregoing reasons, IT IS ORDERED that the Government’s motion in

limine24 is GRANTED. Defendants are instructed not to refer to any alleged misconduct

regarding officers who do not testify at trial. If Darryl B. Stewart is called to testify,

pursuant to the Federal Rules of Evidence, the Defendants may challenge his credibility

through the introduction of evidence of his own misconduct.

         New Orleans, Louisiana, this 3rd day of November, 2016.


                          ___________ __ _______ _________
                                   SUSIE MORGAN
                            UNITED STATES DISTRICT JUDGE




21 R. Doc. 176, at 1-2.
22 See FED. R. EVID. 608(b) (permitting a court, on cross-examination, to allow evidence of specific

instances of a witness’s conduct to attack her character for truthfulness, if such instances are probative of
the witness’s character for truthfulness or untruthfulness); see, e.g., Harris, 2011 WL 6130747, at 2.
23 See, Harris, 2011 WL 6130747, at 2.
24 R. Doc. 167.
